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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 AHC HOLDINGS, INC.,

      Plaintiff,                             Case No. 1:25-cv-00503-PLM-SJB
 v.                                          Hon. Paul L. Maloney
                                             Mag. Judge Sally J. Berens
 MSU HEALTH CARE, INC. and
 ROGER JANSEN,

      Defendants.



                                INDEX OF EXHIBITS


 1    Tolling Agreement, April 2024

 2    Tolling Agreement, September 2024

 3    Tolling Agreement, January 2025
